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U.S. DISTRICT COURT

FOR THE WESTERN DISTRICT OF WASHINGTON

AT SEATTLE

STRIKE 3 HOLDINGS, LLC, a
Delaware corporation,

Case No. 2:17-cv-01731-TSZ

Plaintiff, DEFENDANT’S REQUEST FOR
PRODUCTION OF DOCUMENTS
VS. | TO PLAINTIFF
JOHN DOE, subscriber assigned IP SET: ONE

address 73.225.38.130,

Defendant.

 

 

PROPOUNDING PARTY: JOHN DOE, subscriber assigned IP address

73.225.38.130

RESPONDING PARTY: STRIKE 3 HOLDINGS, LLC

SET NUMBER: ONE (1)

REQUEST FOR PRODUCTION OF DOCUMENTS
SET: ONE ,
CASE NO. 2:17-CV-01731-TSZ 1

EDMONDSON IP LAW
Venture Commerce Center, 3699 NE Jahn Olsen Ave
Hillsboro, Oregon 97124
. TEL. 503.336.3749 ¢ FAX 503.482.7418

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DEFENDANT?’S FIRST SET OF REQUESTS FOR PRODUCTION TO
PLAINTIFF

Pursuant to Fed.R.Civ.P. 34, Defendant, JOHN DOE subscriber assigned
IP address 73.225.38.130 (“DOE”), hereby requests Plaintiff, STRIKE 3
HOLDINGS, LLC (“S3H”) produce for inspection and copying the documents
and things, in accordance with the Definitions and Instructions included herein,
and to respond within the time prescribed by the applicable Federal Rules of
Civil Procedure.

Time and Place of Production: These documents are to be produced for
inspection and copying at Edmondson IP Law, LLC, 3699 NE John Olsen Ave,
Hillsboro, OR 97124, or at the Miles Way Coyne c/o Jason Aldred 2102
Carriage Dr SW, Suite a-103, Olympia, WA 98502, on July 6th by 10 a.m.

In the alternate, PDF copies and/or electronic copies may be mailed to the
Defendant’s counsel’s office at 3699 NE John Olsen Ave, Hillsboro, OR 97124
or sent via email to Defendant’s counsel’s at jcedmondson@edmolaw.com, with

a copy to kirenr@edmolaw.com.

INSTRUCTIONS
Compliance with this Request is requested to be made in accordance with the
following:

1. If you at any time had possession, custody, or control of a
document called for under this request and if such document has been lost,
destroyed, purged, or is not presently in your possession, custody, or control,
you shall describe the document, the date of its loss, destruction, purge, or

separation from possession, custody, or control and the circumstances

REQUEST FOR PRODUCTION OF DOCUMENTS EDMONDSON IP LAW

° . Venture Commerce Center, 3699 NE Jahn Olsen Ave
SET: ONE Hillsboro, Oregon 97124

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surrounding its loss, destruction, purge, or separation from possession, custody,
or control.

2. If you assert that any document called for by this request is
protected against disclosure as a “work product” or by privilege of any kind
whatsoever, you shall provide the following information with respect to such
document:

a. The name and capacity of the person or persons who prepared the
document.

b. The name and capacity of all addressees or recipients of the
original or copies thereof.

c. The date, if any, borne by the document.

d. A brief description of its subject matter and physical size.

e. The source of the factual information from which such document
was prepared, and

f. The nature of the privilege claimed.

3. All documents produced pursuant hereto are to be produced as they
are kept in the usual course of business or shall be organized and labeled
(without permanently marking the item produced) so as to correspond with the
categories of each numbered request hereof.

4. When appropriate, the singular form of a word should be
interpreted in the plural as may be necessary to bring within the scope hereof
any documents which might otherwise be construed to be outside the scope
hereof.

5. All documents to be produced are documents obtained in your

possession within the Time Period.

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DEFINITIONS

1. The words “and” and “or” shall be construed either disjunctively or
conjunctively as necessary to bring within the scope hereof any responses to
interrogatories, documents, or communications, which might otherwise be
construed to be outside the scope hereof.

2. “BitTorrent” means a peer-to-peer file transfer protocol for sharing
large amounts of data over the Internet, in which each part of a file downloaded
by a user is transferred to other users. In order to distribute a large file, the
BitTorrent Protocol breaks a file into many small pieces. Users then interact
directly with each other to exchange these small pieces among each other. After
a user receives all of the pieces of a digital media file, the user’s BitTorrent

software client reassembles the pieces so that the file may be opened and

utilized. |

3. “BitTorrent Swarm” shall mean any and all data collected for the
Subject Hash.

4. “Communication” means any oral or written statement, dialog,

colloquy, discussion, or conversation, and also means any transfer of thoughts or
ideas between persons by means of documents and includes any transfer of data
from one location to another by electronical or similar means.

5. “Complaint” shall mean the Complaint, filed in this action on
November 16, 2017, including attached exhibits.

6. If not expressly stated, “control” means in your possession,
custody, or control and includes documents and things in the possession,
custody, or control of any other person in your house, apartment, dwelling,

and/or business.

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7. “Dates of Alleged Infringements” means the UTC dates referred to
in column 4 of Exhibit A.

8. “Defendant” means JOHN DOE, subscriber assigned IP address
73 .225.38.130.

9. ‘Defendant’s IP Address” means the IP address 73.225.38.130 as
alleged in Plaintiff's Complaint.

10. “Documents” shall mean the original or exact copies of any
tangible written, typed, printed, or other form of recorded or graphic matter of
every kind or description, however produced or reproduced, whether
mechanically or electronically recorded, draft, final, original, reproduction,
signed or unsigned, regardless of whether approved, signed, sent, received,
redrafted, or executed, and whether handwritten, typed, printed, photostated,
duplicated, carbon or otherwise copies, or produced in any other manner
whatsoever. Without limiting the generality of the foregoing, “documents” shall
include correspondence, letters, telegrams, telexes, mailgrams, memoranda,
including interoffice and interoffice memoranda, memoranda for files,
memoranda of telephone or other conversations, and including meetings,
invoices, reports, receipts and statements of account, ledgers, notes or notations,
booklets, books, drawings, graphs, telephone records, video cassettes, electronic
tapes, discs or other recordings, computer programs, hard drives, discs,
printouts, data cards, studies, analysis, e-mails, computer files, back-up tapes,
hard disks, litigation data bases and other data compilations from which
information can be obtained. Copies of documents which are not identical
duplications of the originals, or which contain additions to or deletions from the
originals, or copies of documents which are identical duplications of the

originals if the originals are not available, shall be considered to be separate

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documents physically in the file, folder, binder, or other filing system that are
normally kept within the file folder, binder, or other filing system in the normal
course of business.

11. “DMCA notice” shall mean the DMCA notices referred in
paragraph 26 of The Declaration Of Greg Lansky In Support Of Plaintiffs
Motion For Leave To Serve A Third Party Subpoena Prior To A Rule 26(F)
Conference, attached as Exhibit B to the current document.

12. “Entity” means any person or entity, and includes individuals,
corporations, partnerships, associations, joint ventures, firm, and other business
enterprises or legal entities, and includes both the singular and plural.

13. “Exhibit A” shall mean the document attached to the Complaint as
Exhibit A, also attached as Exhibit A to the current document.

14. “Infringement Detection” shall mean any protocol, process,
procedure, practice, and /or method used to determine that the Defendant has
infringed the Plaintiff's Works as alleged in Exhibit A of the Complaint.

15. “Infringement Detection Software” shall mean any computer
program, manual method, automated method, third party service, and/or any
process for determining that the Defendant has infringed the Plaintiff's Works as
alleged in Exhibit A of the Complaint.

16. “PCAP” shall mean the PCAP and described in paragraph 8 of the
Declaration Of Tobias Fieser In Support Of Plaintiff's Motion For Leave To
Serve A Third Party Subpoena Prior To A Rule 26(F) Conference, attached as
Exhibit C to the current document.

17. “Plaintiff? and “S3H” shall mean, “STRIKE 3 HOLDINGS, LLC”,

the Plaintiff in this action.

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18. “Related to” and “in relation to” shall mean directly or indirectly,
refer to, reflect, describe, pertain to, arise out of or in connection with, or in any
way legally, logically, or factually be connected with the matter discussed.

19. “STRIKE 3 HOLDINGS, LLC” refers to Plaintiff, Strike 3
Holdings, LLC, including its employees, agents, servants, subsidiaries, parent
company, affiliated company, and any other person or entity acting or purporting
to act on its behalf or under its control.

20. “Subject Hash” refers to each of the hashes identified in column 2
of Exhibit A.

21. “Torrent File” shall mean the “torrent” file described in Paragraph
18 of the Complaint.

22. “Used” means connected the device to a computer or other device,
connected the device to a power source, stored files on the device, copied files to
the device, copied files from the device, erased files from the device, accessed
files on the device, viewed files on the device, or engaged in any combination of
the foregoing.

23. The “Works” means the works identified in column 1 of Exhibit A,
corresponding to the hashes in column 2 of Exhibit A.

24. “You” or “Your” refers to the person upon whom this request was
propounded and any other person(s) or entity(ies) acting or purporting to act on

your behalf or under your control.

DOCUMENTS REQUESTED
l. A copy of the object code of the Infringement Detection Software

used on the Dates Of Alleged Infringements.

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2. A copy of the source code of the Infringement Detection Software
that was used on the Dates Of Alleged Infringements.

3. A copy of all third-party software licenses that were used for
Infringement Detection Software on the Dates Of Alleged Infringements.

4, A copy of all build files of the Infringement Detection Software that
was used on the Dates Of Alleged Infringements.

5, A copy of all validation test files for the Infringement Detection
Software that was used on the Dates Of Alleged Infringements.

6. A copy of all documentation for Infringement Detection on the
Dates Of Alleged Infringements.

7. A copy of all expert reports regarding the testing, validation, and/or
inspection of the Infringement Detection Software on the Dates Of Alleged
Infringements.

8. A copy of all expert reports regarding the testing, validation, and/or
monitoring of Infringement Detection.

9. A copy of any and all Documents that reference IP Addresses used
to monitor the BitTorrent Swarm for Infringement Detection on the Dates Of
Alleged Infringements.

10. A copy of all PCAPs from the BitTorrent Swarms that were
collected for Infringement Detection on the Dates of the Alleged Infringements.

11. <A copy of all Torrent Files accessed by the Infringement Detection
Software corresponding to the Works.

12. A copy of all DMCA notices sent to IP address 73.225.38.130.

13. A copy of all DMCA notices sent to any internet service provider,
in relation to IP address 73.225.38.130.

14. Acopy of all copyright certificates related to the Works.

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15. Acopy of all copyright depository copies related to the Works.

16. All Documents, for the last three years, supporting your allegation
in paragraph 3 of the Complaint that SH3 has ‘“...more than 20 million unique
visitors to its websites each month...”

17. All Documents supporting your allegations in paragraph 4 of the
Complaint that Defendant “...has been recorded infringing 80 movies over an
extended period of time”. |

18. All Documents supporting your allegations in paragraph 9 of the
Complaint that “...Plaintiff used IP address geolocation technology by Maxmind
Inc. (“Maxmind”)”.

19. All Documents supporting your allegations in paragraph 13 of the
Complaint that “Strike 3’s subscription based websites proudly boast a paid
subscriber base that is one of the highest of any adult-content sites in the world.”

20. All Documents supporting your allegations in paragraph 13 of the
Complaint that “Strike 3 also licenses its motion pictures to popular
broadcasters”.

21. All Documents supporting your allegations in paragraph 13 of the
Complaint that “Strike 3’s motion pictures are the number one selling adult
DVDs in the United States”.

22. All Documents supporting your allegations in paragraph 16 of the
Complaint that “Often appearing among the most infringed popular
entertainment content on torrent websites, Strike 3’s motion pictures are among
the most pirated content in the world.”

23. All Documents supporting your allegations that Defendant
distributed S3H’s Works, as alleged in paragraph 23 of the Complaint.

REQUEST FOR PRODUCTION OF DOCUMENTS EDMONDSON IP LAW

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24. All Documents supporting your allegations in paragraph 26 of the
Complaint that “A full copy of each digital media file was downloaded from the
BitTorrent file distribution network, and it was confirmed through independent
calculation that the file hash correlating to each file matched the file hash
downloaded by Defendant.”

25. All Documents supporting your allegations in paragraph 27 of the
Complaint that “Defendant downloaded, copied, and distributed a complete copy
of Plaintiff's Works”.

26. All Documents supporting your allegations in paragraph 29 of the
Complaint that “The digital media files have been verified to contain a digital
copy of a motion picture that is identical (or alternatively, strikingly similar or
substantially similar) to Plaintiffs corresponding original copyrighted Works”.

27. All Documents supporting your allegations in paragraph 30 of the
Complaint that “Absent this lawsuit, Plaintiff knows of no way to effectively

prevent Defendant from infringing Plaintiffs motion pictures.”

 

Respectfully submitted,
Dated: May 31, 2018 /s/ J. Curtis Edmondson
Attorney for Defendant
DOE
REQUEST FOR PRODUCTION OF DOCUMENTS EDMONDSON IP LAW
SET: ONE ' Venture Commerce Center, 3699 NE John Olsen Ave

. Hillsboro, Oregon 97124
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The Honorable Marsha J. Pechman

UNITED STATES DISTRICT COURT

WESTERN DISTRICT OF WASHINGTON

AT SEATTLE

STRIKE 3 HOLDINGS, LLC, a Delaware
corporation,

Plaintiff,
vs.

JOHN DOE subscriber assigned IP address
73.225.38.130,

Defendant.

 

 

 

 

Case No.: 2:17-cv-01731-MJP
DECLARATION OF GREG LANSKY IN

- SUPPORT OF PLAINTIFF’S MOTION

FOR LEAVE TO SERVE A THIRD
PARTY SUBPOENA PRIOR TO A RULE
26(f) CONFERENCE

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DECLARATION OF GREG LANSKY IN
SUPPORT OF PLAINTIFF’S MOTION ~ (2:17-
cv-01731-MJP)

I

FOX ROTHSCHILD LLP

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(206) 624-3600

EXHIBIT A

 
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DECLARATION OF GREG LANSKY IN SUPPORT OF
PLAINTIFF’S MOTIONFOR LEAVE TO SERVE A THIRD-PARTY
SUBPOENA PRIOR TO A RULE 26(7) CONFERENCE

I, Greg Lansky, do hereby state and declare as follows:

1. Tam a member of General Media Systems, LLC, the parent company that owns Strike 3
Holdings, LLC (“Strike 3”). Iam the Chief Creative Officer of the Blacked, Tushy, and Vixen
adult brands.

2. Ihave personal knowledge of all of the matters contained in this declaration and, if
called and sworn as a witness, I can and competently will testify to all matters contained herein.
This declaration is made in support of Plaintiff's Motion for Leave to Serve a Third-Party
Subpoena Prior to a Rule 26(f) Conference.

3. Strike 3 owns the intellectual property to the Blacked, Tushy, and Vixen adult brands,
including the copyrights to each of the motion pictures distributed through Blacked, Tushy and
Vixen and the trademarks to each of the brand names and logos. Strike 3 is owned entirely by
our company General Media Systems, LLC and has existed since 2015.

4. Imoved to the United States in 2006 from Paris, France to pursue my dream of creating
art in an adult context. I have always been passionate about photography and cinematography.

5. It was a difficult start - I could barely speak English, and I had trouble making
connections and finding employment. I struggled for several years to make a name for myself
as a reliable photographer and director.

6. Eventually, after tremendous hard work, I was fortunate to be hired by some of the
biggest adult brands in the world. Through these experiences, I was able to establish myself and
become an expert in the field.

7. In 2013, I decided to risk everything to create my own company and studio. Asa
director, I felt the industry and I were not offering the best quality and experience possible. I felt

I was not offering truly inspiring projects for performers to express their art.

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Declaration of Greg Lansky in Support of Plaintiff’s Motion for Leave to Serve Subpoena Prior to a Rule
26(f) Conference

EXHIBIT A

 
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8. At the time, the adult market was demoralized and it appeared that a high-quality, well
produced, subscription based website would never succeed.

9. Ican still remember when our company was just three people in my small home office.

10. We kept growing and after a few years our brands turned into a multi-million dollar a
year business. We now have 20 million unique visitors to our websites per month and a loyal
following.

11, Our company’s philosophies are important.

12. We always strive to pay artists and models an amount above that being paid by other
companies. Indeed, we are known for paying our performers the highest rates ever recorded.
We give them the respect they deserve.

13. We focus on delivering to our subscribers and fans superior quality adult films and a
wonderful customer experience. People thought we were crazy to think that people wanted to
pay for expensive quality adult films and we were told that we were destined to fail. Now, we
have a substantial and loyal customer base.

14. We provide jobs for nearly 60 people worldwide. We provide good benefits including
health care coverage and have an extremely positive company culture.

15. Our movies are known for having the highest production budget of any in the industry.
We invest in and utilize state of the art cinematic equipment. We film with Hollywood industry
standards. And, as our subscriber base grows, we always seek to find ways to invest in value
for our customers.

16. Because of this, we have a subscriber base that is one of the largest of any adult sites in
the world.

17. We are also currently the number one seller of adult DVDs in the United States.

18. Our content is licensed throughout the world, including by most major cable networks.

19. Our success has not gone unnoticed. Indeed, we are very proud to state that our unique

cinematic films have won many awards. It’s humbling. Some of them include:

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Declaration of Greg Lansky in Support of Plaintiff's Motion for Leave to Serve Subpoena Prior to a Rule
26(f) Conference

 

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o Best marketing campaign — company image (AVN, 2016-2017)
o Best new studio (XBIZ, 2017)

o Best cinematography (AVN, 2016)

o Director of the Year (AVN, 2016-2017; XBIZ, 2017)

o Best membership website (AVN, 2016-2017)

o Adult site of the year — CXBIZ, 2015-2017)

20. We also are routinely featured in the mainstream media. Just in the past few months,
Forbes,’ The Daily Beast,” and CBC Radio’ have all done substantial profiles on us.

21. We are proud of our impact on the industry. We have raised the bar - leading more adult
studios to invest in better content, higher pay for performers, and to treat each performer like an
artist. That is a testament to the entire team, the company we have built and the movies we
create.

22. Unfortunately, piracy is a major threat to our company. We can compete in the industry,
but we cannot compete when our content is stolen. |

23. We have discovered that when we put videos online for paid members to view, it takes
as little as four minutes to be downloaded on to torrent websites. We have attempted to identify
the initial seeder but have found it impossible with the large volume of our subscriber base.

24. We put a tremendous amount of time, effort and creative energy into producing and
distributing valuable content for our paid customers. It crushes us to see it being made available

to anyone for free in just minutes.

 

' “How One Pomographer is Trying to Elevate Pom to Art,” Forbes July 20, 2017
https:/Avww.forbes.com/sites/susannahbreslin/2017/07/20/pomographer-greg-lansky-interview/#230 1d3ae6593

2 “Meet the Man Making Pom Great Again,” The Daily Beast, February 18, 2017
http://www.thedaily beast.com/meet-the-man-making-porn-great-again

? “Porn-o-nomics: How one director is making a fortune by defying conventional wisdom,” CBC Radio,
February 24, 2017 http://www.chc.ca/radio/day6/episode-326-sanctuary -cities-la-la-land-vs-jazz-holly wood-in-
china-por-o-nomics-and-more-1.3994160/porn-o-nomics-how-one-director-is-making-a-fortune-by -defy ing-
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Declaration of Greg Lansky in Support of Plaintiff's Motion for Leave to Serve Subpoena Prior to a Rule
26(f) Conference

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25. We are undeniably the most pirated adult content in the world. Our movies are typically
among the most pirated television shows and movies on major torrent websites.

26. We send on average 50,000 DMCA notices a month but it does virtually nothing to stop
the rampant copyright infringement.

27. The only effective way to stop the piracy of our movies on BitTorrent networks is to file
lawsuits like this one.

28. We believe a consumer’s choice of what content to enjoy, whether it be adult
entertainment or otherwise, isa personal one to that consumer and therefore it is our policy to
keep confidential the identity of not only our subscribers, but even those we are pursuing for
copyright infringement.

29. To continue to provide value for our members, exciting and inspiring projects for adult
performers, and to continue to create jobs and growth in our community, we must protect our
copyrights.

DECLARATION
Pursuant to 28 U.S.C. § 1746, 1 hereby declare under penalty of perjury under the laws

 

 

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Declaration of Greg Lansky in Support of Plaintiff's Motion’ for Leave to Serve Subpoena Prior to a Rule
26(f) Conference

EXHIBIT A

 
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The Honorable Marsha J. Pechman

UNITED STATES DISTRICT COURT

WESTERN DISTRICT OF WASHINGTON

AT SEATTLE

STRIKE 3 HOLDINGS, LLC, a Delaware
corporation,

Plaintiff,
vs.

JOHN DOE subscriber assigned IP address
73.225 38.130,

Defendant.

 

 

 

 

Case No.: 2:17-cv-0173 1-MJP

DECLARATION OF TOBIAS FIESER IN
SUPPORT OF PLAINTIFF’S MOTION
FOR LEAVE TO SERVE A THIRD
PARTY SUBPOENA PRIOR TO A RULE
26(f) CONFERENCE

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DECLARATION OF TOBIAS FIESER IN

SUPPORT OF PLAINTIFF’S MOTION — (2:17-

cv-01731-MJP)

FOX ROTHSCHILD LLP

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’ (206) 624-3600

EXHIBIT B

 
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DECLARATION OF TOBIAS FIESER IN SUPPORT OF PLAINTIFF’S
MOTION FOR LEAVE TO SERVE A THIRD PARTY SUBPOENA
PRIOR TO A ROLE 26(f) CONFERENCE

I, Tobias Fieser, do hereby state and declare as follows:

1. My name is Tobias Fieser. I am over the age of 18 and am otherwise competent
to make this declaration.

2. This declaration is based on my personal knowledge and, if called upon to do so,
1 will testify that the facts stated herein are true and accurate.

3. I am employed by IPP International UG (“IPP”), a German company, in its
litigation support department.

4, IPP provides forensic investigation services to copyright owners including an
ability to track, monitor, and detect copyright infringement in an online environment. Strike 3
Holdings, LLC (“Strike 3”) hired IPP to monitor and record online infringement of its movies.

5. One of the services that IPP provides is that its system monitors the BitTorrent
file distribution network for the presence of copyrighted works. [IPP’s forensic software
identifies Internet Protocol (“IP”) addresses that are being used by infringers to distribute
copyrighted works within the BitTorrent File Distribution Network.

6. As part of my employment with IPP, I was assigned the task of overseeing,
analyzing, and reviewing the results of this investigation. I have previously provided the same
support for thousands of copyright infringement lawsuits across the United States, and I gave
full and complete testimony about the forensic scanning process during the “BitTorrent
Bellwether Trial” (Malibu Media v. John Does, 12-cv-2078, (E.D. Pa. Jan. 3, 2013)).

7. After reviewing IPP’s forensic activity records, I determined that IPP’s forensic
servers connected to an electronic device using IP Address 73.225.38.130. After this
connection, Defendant’s IP Address of 73.225.38.130 was documented distributing to IPP’s

servers multiple pieces of Strike 3’s copyrighted movies listed on Exhibit A to Strike 3’s

Complaint.

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Declaration of Tobias Fieser in Support of Plaintiff's Motion for Leave to Serve Subpoena Prior to a Rule
26(f) Conference
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8. Each piece was recorded in a PCAP, which stands for “packet capture” and is a
forensically sound interface for recording network traffic. The time recorded is quoted in
Universal Time which correlates to the assignment logs kept by United States Internet Service
Providers (ISPs) tracking which IP Address is assigned to which customer at a given point in
time. The infringement appears consistent and on-going.

9, IPP’s software additionally analyzed each BitTorrent “piece” distributed by
Defendant’s IP Address. It verified that reassembling the pieces using a specialized BitTorrent
client results in a fully playable digital movie.

10. A digital file can be identified by what is called a “Cryptographic Hash Value.”
This concept was developed by the United States National Security Agency. IPP’s software
determined that the files being distributed by Defendant’s IP Address have a unique identifier of
the Cryptographic Hash outlined on Exhibit A.

11.  IPP’s software is programmed to only allow it to download files from the
BitTorrent Network. It is unable to distribute content. At no point did IPP distribute any part of
Strike 3’s copyrighted movies at any time.

12. IPP additionally confirmed through its ancillary worldwide BitTorrent
surveillance program that IP address 73.225.38.130 is associated with significant long term

BitTorrent use.

DECLARATION
PURSUANT TO 28 U.S.C. § 1746, I hereby declare under penalty of perjury under the

laws of the United States of America that the foregoing is true and correct.

Executed on this 7 #ee day of “Gren — , 20.
TOBIAS FIESER_

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Declaration of Tobias Fieser in Support of Plaintiff's Motion for Leave to Serve Subpoena Prior to a Rule
26(f) Conference
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CERTIFICATE OF SERVICE

I am employed in the County of Washington, in the State of Oregon. I am
over the age of 18 and not a party to the within action. My business address is
3699 NE John Olsen Ave, Hillsboro, Oregon 97124.

On May 31, 2018, I hereby certify that I served DEFENDANT’S
REQUEST FOR PRODUCTION OF DOCUMENTS TO PLAINTIFF, SET

ONE, by delivering said document, by mail and email to:

Bryan J. Case, WSBA #41781

Email: bcase@foxrothschild.com

FOX ROTHSCHILD LLP (SEATTLE)
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10250 Constellation Blvd., Suite 900

Los Angeles, California 90067

Telephone: (310) 598-4150

Attorneys for Plaintiff Strike 3 Holdings LLC

DATED this 31st day of May, 2018.

By: /s/ Kiren Rockenstein
Kiren Rockenstein

REQUEST FOR PRODUCTION OF DOCUMENTS EDMONDSON IP LAW

. Venture Commerce Center, 3699 NE John Olsen Ave
SET: ONE Hillsboro, Oregon 97124

CASE NO, 2:17-CVv-01731-TSZ I TEL. 503.336.3749 ° FAX 503.482.7418

 
